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                                                                                      FILED
                                                                                      MAR 2 0
                                                                                                 2018
                                                                           CL.
                          IN THE UNITED STATES DISTRICT COUR
                             FOR WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
                                                                                            PUiy
IN THE MATTER OF THE SEARCH OF 403
2nd
   Street N, Pflugerville, TX and electronic
devices found therein
                                                  Ce No. A           i
                                                                         '- ,4'l -   2O



                             AFFIDAVIT IN SUPPORT OF AN
                           APPLICATION UNDER RULE 41 FOR A
                            WARRANT TO SEARCH AND SEIZE


         I, REYNALDO ALATORRE, JR., being first duly sworn, hereby depose and state as

follows:


                       INTRODUCTION AND AGENT BACKGROUND


               I make this affidavit in support of an application under Rule 41 of the Federal


Rules of Criminal Procedure for a search warrant authorizing the examination of property

described in Attachment A for the items described in Attachment B.


         2.    1   am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), United States Department of Justice, and have been so employed since July

2001. Prior to my employment with the ATF, I was employed as a Border Patrol Agent for

approximately four years. As a result of my training and experience, I am familiar with firearms

and with Federal Firearms Laws, including Title 26 offenses concerning destructive devices. I

have also discussed this investigation with other ATF Special Agents with specialized experience

in Destructive Devices (explosive device(s)) and Destructive Device investigations.


         3.    This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of m)? knowledge about this matter. The
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investigation described below is at its preliminary stages and facts continue to develop. I

responded to the scene on March 2, 2018 as well as the scene of the second explosive device on

March 12, 2018. 1 also responded to the scene on March 18, 2018. 1 am relying on my

observations of the scenes as well as the facts and information gathered from other law

enforcement described below. All facts are relayed in sum and substance.


       4.       As a result of my training, my experience relating to these statutes, and the

experience of senior Special Agents and investigators, I believe that there is probable cause that

evidence of the following offenses will be found in residence and vehicle, as well as the

electronic devices found therein, listed in Attachment A:



                Title 26 United States Code § 5861: it is unlawful for any person to possess a
                firearm (defined as including a Destructive Device) that is required to be
                registered with the National Firearms Registration and Transfer Record and is not
                so registered or to transfer a firearm (including a Destructive Device) to a person
                to whom the firearm is not registered.

        5.      The applied-for warrant would authorize the search and seizure as described in

Attachment B.


                                           PROBABLE CAUSE


        6.      Your Affiant is familiar with the information contained in this affidavit, either

through personal investigation or through reports and discussion with other law enforcement

officers, who have participated in and have contributed their investigative efforts in this matter.


        7.      On March 2, 2018, at approximately 6:55 am, at 1112 Haverford Drive, Austin,

Texas 78753 in the Western District of Texas, an explosion occurred on the front porch of the

single story brick residence, resulting in the death of Anthony S. House. Preliminary analysis of
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the explosive device revealed that it utilized a          as part of the triggering mechanism.

       8.        On March 12, 2018 at approximately 6:44 am at 4806 O1dkrt Hill Drive, Austin,

Texas 78723 in the Western District of Texas, an explosion occurred           inside the residence,

resulting in the death of a 17-year old victim and injuries to an additional victim. Preliminary

analysis of the explosive device revealed that it utilized a               as part of the triggering

mechanism.

       9.        On March 12, 2018 at approximately 11:50 am at 6706 Galindo Street, Austin,

Texas 78741 in the Western District of Texas, an explosion occurred outside of the residence,

sending one person to the hospital with injuries. Based on communications from the victim, the

package containing the explosive device may have had the address "6705 Galindo" written on it.

Preliminary analysis of the explosive device revealed that it utilized a                 part of the

triggering mechanism.

        10.      On March 18, 2018, sometime before 9:00 pm, an explosion occurred near the

block of 4800 Dawn Song Drive and 4721 Eagle Feather Drive, located in the neighborhood of

Travis Country, Travis County, Texasa location within the Western District of Texas. Two

individuals were injured. A witness was interviewed who resided in the area of the explosion.

    stated that when         oturned to her home at approximately 8:25   pmaw a "Drive Like
Your Kids Live Here" yard sign with red backing and white letters that had not been present

wheneft her home. Preliminary analysis of the explosive device revealed that it           utilized   a

              as part of the triggering mechanism. I believe, based on interviews with the witness

and the preliminary analysis of the scene, that the sign was utilized to ficilitate the concealment

of the explosive device.
        IL       On March 20, 2018, at approximately 12:45 am, at the FedEx processing center in
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Scbeitz, Texas, a package in FedEx custody exploded. At approximately 7:00 am on March 20.

2018, a package was located at the FedEx facility located near the Austin, Texas airport at 41 17

McKinney Falls Pkwy. The package was addressed to                                      located in

Austin, Texas. That package was x-rayed and an explosive device was found inside. Law

enforcement was able to render the device safe. Preliminary analysis of the device revealed that

it consisted of a PVC pipe casing with a metal pipe inside surrounded by shrapnel. The device

utilized a           rigger. The trigger was designed to ignite the device creating an explosion

when a flap of the package was opened.

        12.    InformatIon from FedEx revealed that both packages discovered on March 20,

2018 were sent by the same individual at a FedEx Location in Austin, Texas on Brodie Ln on

March 18, 2018. Video footage was recovered from the FedEx and revealed that a single white

male individual shipped both packages. He was wearing gloves and a hat in the store. He paid in

cash. It appeared that he was wearing a wig. The FedEx clerk was interviewed by Law

enforcement who dealt with the customer who sent the packages. The clerk stated that the

customer was in his mid 20s, wearing gloves, pasty white complexion, wearing a green shirt and

blue jeans, wearing a hat and a wig. When the customer left, the clerk saw him get into a red

truck. The clerk was shown a stock photograph of a 2002 red Ford pickup truck and the clerk

said it was consistent with the vehicle that the customer got into.   A         4ore in the same

shopping center as the FedEx had exterior cameras that showed a red pickup truck with extended


cab similar in appearance to a Ford Ranger in the parking lot approximately 10 minutes prior to

the time the customer was in the FedEx.

         13.   The investigation is continuing fbr all of these incidents and this information

 continues to develop as the investigation continues, but law enforcement believes these

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explosions were likely caused by Destructive Devices. Law enforcement has assessed that the

explosive devices shared commonalities, such as the delivery method, contents of the explosive

device, and the manner of detonation. All six explosive devices used shrapnel. Law enforcement

believes all six devices are (inked.

        I 4.   Multiple other individuals were investigated for potential links to these

Destructive Devices. None of those persons were deemed likely to be involved. Our

investigation is ongoing

        15.    On or about February 27, 2018, a customer purchased several items at Frye's

Electronics store located at 12707 N MOPAC Expressway, Austin, TX 78727. The items

included                 4xAA Battery Holder With Snap Connector. Preliminary analysis of the

explosive devices revealed that all six explosive devices utilized a              4xAA Battery

Holder With Snap Connector. The customer utilized a U.S. Bank credit card issued to Mark

Conditt, who according to Texas Department   of Public Safety driver's license records, resides at

403 2    Street N, Pflugerville, TX 78660. Conditt has a 2002 Red Ford Ranger with an extended

cab registered to him. Video footage recovered from Frye's showed that the customer looked to

be Mark Conditt

         16.    On or about March 13, 2018, at approximately 6:30 pm a red truck arrived at a

Home Depot in Round Rock, Texas. A white male walked into the store and purchased several

 signs, including a "Drive Like Your Kids Live Here" sign consistent with the sign the witness

 reported seeing related to the March 18, 2018 explosion. Also, the person purchased a 6 pack of

 work gloves consistent with the gloves seen in the FedEx video from March 18, 2018. The white

 male seen on Home Depot video footage is similar in appearance to a photograph I have viewed

 of Mark Conditt. That customer paid with cash.
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         17,     A Confidential Source (CS1) with multiple contacts with Mark Conditt was

interviewed on March 20, 2018. CS1 was shown a single photo of Mark Conditt and

identified the photograph to be Mark Conditt. CSI was then shown the Home Depot video

footage from March 13, 2018, discussed in detail above. CSI told law enforcement that the

photograph looked like Mark Conditt when asked how confident he/she was, CS I said he/she

was "98%" confident that the customer in the Home Depot footage was Mark Conditt. CSI was

shown the                 footage of the red pickup truck, discussed above, and told law enforcement

that the truck looks like Conditt's truck. When asked bow confident he/she was, CS1 replied

"70%."

         18.     According to Facebook pages viewed by other            agents1




"liked" the                 Facebook pagethe sam.              Nhere the explosive device discussed

above was addressed to,

         19.     Law enforcement tool            .hotographs of 403 2        Street N, Pfiugervilte, Texas

on March 20, 2018. Law enforcement also conducted physical surveillance of the address. A red

2002 Ford Ranger pickup truck was observed at the home. The                                       footage

revealed multiple items in the bed of the pickup truck. I have seen the                   exterior camera

footage of the red pickup truck and I believe that the items in the bed of the truck in that footage

are consistent with the items captured in the          photographs of the truck at 403 2         Street N,

discussed above.

         20.     Information fiom social media revealed that Mark Conditt was utilizing a cellular

telephone with number                     . Records revealed that                    is registered to Mark



'There is no csiminai history for CS 1.
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Conditt's tither. Cellular data for                  showed that there was no call activity on the

number during the following dates and times: March 12, 2018 from midnight until approximately

8:13 pm; on March 13, 2018, from 4:16 pm until March 14, 2018 at 9:06 am; on March 18, 2018




placing the phone utilizing number

Home Depotnor is their data placing the phone utilizing number         _
from 4:32 pm until March 19, 2018 at 8:41 am. Therefore, there is no currently available data

                                                      at either at the scene of the explosions or at



other than the scene of the explosions or Home Depot. Phone call records for

show that between March 12, 2018 and March 20, 2018 the phone utilizing number
                                                                                        It   locations




      made calls to a garage door companypreliminary analysis of the explosive devices

revealed that wiring utilized in the device was consistent with wiring used on



       21.     The Government has not found any information of a registered Destructive

Device for any of the victims of these Destructive Devices or locations of the explosions, making

the possession or transfer to them unlawful, ATF conducted a query on March 20, 2018 and

confirmed that Mark Conditt does not have a registered Destructive Device in his name nor is

one registered to his address; his possession of a Destructive Device would therefore be

unlawful.

       22.     The address of Mark Conditt on his driver's license and vehicle registration differ

between 402 N 2 St and 402 2 Street N. Investigators have determined that they are the same

location.

        23.    In my training and experience and that of other experienced ATF agents with

expertise in Destructive Device making and explosives, I know and have learned that Destructive

Device manufacturers often research their targets using the internet and electronic means.

                                                'I
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Destructive Device-makers often research methods of constructing Destructive Devices, as well

as information related to motive for using explosives, using the internet and other electronic

devices. Furthermore, I have learned that in this case there is some evidence that Mark Conditt

has used the internet to look up the FedEx location where two of the devices were mailed from,

as described above. Additionally, I know that electronic devices oflen contain records of location

and that information would be relevant evidence in this case.

       24.         Based on my training and experience, I know that anyone who manufactures or

deals in explosives must be licensed by ATF to do so, and that the storage of explosives in a

residence or vehicle is in violation of licensing and storage requirements defined by law.

Furthermore, I know that due to the volatile nature of explosive materials, their improper

manufacture and storage poses an extreme danger to the individual/dealer, as well as nearby

residents and their property. Finally, there have been numerous documented instances of similar

clandestine unlawful explosive operations in buildings wherein there have been fatalities and

substantial property damage.

       25.         Based on the above, I respectfully submit that there is probable cause to believe

that contained on premises described in Attachment A is evidence related to violations of 26

U.S.C. §5861.


                                            TECHNICAL TERMS


        26.        Based on my training and experience and discussions with other law enforcement,

I use the following technical terms to convey the following meanings:



              a.   Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                   telephone) is a handheld wire'ess device used for voice and data communication
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        through radio signals. These telephones send signals through networks of

        transmitter/receivers, enabling communication with other wireless telephones or

        traditional "land line" telephones. A wireless telephone usually contains a "call

        log," which records the telephone number, date, and time of calls made to and

        from the phone. In addition to enabling voice communications, wireless

        telephones offer a broad range of capabilities. These capabilities include: storing

        names and phone numbers in electronic "address books;" sending, receiving, and

        storing text messages and e-mail; taking, sending, receiving, and storing still

        photographs and moving video; storing and playing back audio files; storing

        dates, appointments, and other information on personal calendars; and accessing

        and downloading information from the Internet. Wireless telephones may also

        include global positioning system ("GPS") technology for determining the

        location of the device.


     b. Digital camera: A digital camera is a camera that records pictures as digital

        picture files, rather than by using photographic film. Digital cameras use a

        variety of fixed and removable storage media to store their recorded images.

        Images can usually be retrieved by connecting the camera to a computer or by

        connecting the removable storage medium to a separate reader. Removable

        storage media include various types of flash memory cards or miniature hard

         drives. Most digital cameras also include a screen for viewing the stored images.

         This storage media can contain any digital data, including data unrelated to

         photographs or videos.
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     c. Portable media player: A portable media player (or "MP3 Player" or iPod) is a

           handheld digital storage device designed primarily to store and play audio, video,

           or photographic files. However, a portable media player can also store other

           digital data. Some portable media players can use removable storage media.

           Removable storage media include various types of flash memory cards or

           miniature hard drives. This removable storage media can also store any digital

           data. Depending on the model, a portable media player may have the ability to

           store very large amounts of electronic data and may offer additional features such

           as a calendar, contact list, clock, or games.


      d.   GPS: A GPS navigation device uses the Global Positioning System to display its

           current location. It often contains records the locations where it has been. Some

           GPS navigation devices can give a user driving or walking directions to another

           location. These devices can contain records of the addresses or locations involved

           in such navigation. The Global Positioning System (generally abbreviated

           "GPS") consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite

           contains an extremely accurate clock. Each satellite repeatedly transmits by radio

           a mathematical representation of the current time, combined with a special

           sequence of numbers. These signals are sent by radio, using specifications that

           are publicly available. A GPS antenna on Earth can receive those signals. When

           a GPS antenna receives signals from at least four satellites, a computer connected

           to that antenna can mathematically calculate the antenna's latitude, longitude, and

           sometimes altitude with a high level ofprecision.
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      e.   Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller

           than a notebook, that is primarily operated by touching the screen. Tablets

           function as wireless communication devices and can be used to access the Internet

           through cellular networks, 802.11 "wi-fl" networks, or otherwise. Tablets

           typically contain programs called apps, which, like programs on a personal

           computer, perform different functions and save data associated with those

           functions. Apps can, for example, permit accessing the Web, sending and

           receiving e-mail, and participating in Internet social networks.


      f.   IP Address: An Internet Protocol address (or simply "IF address") is a unique

           numeric address used by computers on the Internet. An IP address is a series of

           four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

           Every computer attached to the Internet computer must be assigned an IP address

           so that Internet traffic sent from and directed to that computer may be directed

           properly from its source to its destination. Most Internet service providers control

           a range of IF addresses. Some computers have staticthat is, long-termIP

           addresses, while other computers have dynamicthat is, frequently changedIF

           addresses.


      g.   Internet: The Internet is a global network of computers and other electronic

           devices that communicate with each other. Due to the structure of the Internet,

           connections between devices on the Internet often cross state and international

           borders, even when the devices communicating with each other are in the same

           state.
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              h. Flash drive: A USB flash drive, also variously known as a thumb drive, pen drive,

                   jump drive, disk key, disk on key, flash-drive, memory stick or USB memory, is a

                   data storage device that includes flash memory with an integrated USB interface.


              i.   SD Card: An SD memory card, flash card or memory cartridge is an electronic

                   flash memory data storage device used for storing digital information. These are

                   commonly used in portable electronic devices, such as digital cameras, mobile

                   phones, laptop computers, tablets, or other digital devices.


       27.         Based on my training, experience, discussions with other agents, and research, I

know that the Devices at issue have capabilities that allow it to serve as a wireless telephone,

digital camera, portable media player, GPS navigation device, and digital storage device. In my

training and experience, examining data stored on devices of this type can uncover, among other

things, evidence that reveals or suggests who possessed or used the device as well as location

information.


                         ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       28.         Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensics tools.


        29.        There is probable cause to believe that things that were once stored on the Device

may still be stored there, for at least the following reasons:



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     j. Based on my knowledge, training, and experience, I know that computer files or

          remnants of such files can be recovered months or even years afler they have been

          downloaded onto a storage medium, deleted, or viewed via the Internet.

          Electronic files downloaded to a storage medium can be stored for years at little

          or no cost. Even when files have been deleted, they can be recovered months or

          years later using forensic tools. This is so because when a person "deletes" a file

          on a computer, the data contained in the file does not actually disappear; rather,

          that data remains on the storage medium until it is overwritten by new data.


     k. Therefore, deleted files, or remnants of deleted files, may reside in free space or

          slack spacethat is, in space on the storage medium that is not currently being

          used by an active filefor long periods of time before they are overwritten. In

          addition, a computer's operating system may also keep a record of deleted data in

          a "swap" or "recovery" file.


     I.   Wholly apart from user-generated files, computer storage mediain particular,

          computers' internal hard drivescontain electronic evidence of how a computer

          has been used, what it has been used for, and who has used it. To give a few

          examples, this forensic evidence can take the form of operating system

          configurations, artifacts from operating system or application operation, file

          system data structures, and virtual memory "swap" or paging files. Computer

          users typically do not erase or delete this evidence, because special software is

          typically required for that task. However, it is technically possible to delete this

          information.

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             m. Similarly, files that have been viewed via the Internet are sometimes

                  automatically downloaded into a temporary Internet directory or "cache."


       30.        Forensic evidence.   As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

the Device was used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the Device because:


             n.   Data on the storage medium can provide evidence of a file that was once on the

                  storage medium but has since been deleted or edited, or of a deleted portion of a

                  file (such as a paragraph that has been deleted from a word processing file).

                  Virtual memory paging systems can leave traces of information on the storage

                  medium that show what tasks and processes were recently active. Web browsers,

                  e-mail programs, and chat programs store configuration information on the

                  storage medium that can reveal information such as online nicknames and

                  passwords. Operating systems can record additional information, such as the

                  attachment of peripherals, the attachment of USB flash storage devices or other

                  external storage media, and the times the computer was in use. Computer file

                  systems can record information about the dates files were created and the

                  sequence in which they were created.


             o. Forensic evidence on a device can also indicate who has used or controlled the

                  device. This "user attribution" evidence is analogous to the search for "indicia of

                  occupancy" while executing a search warrant at a residence.
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     p. A person with appropriate familiarity with how an electronic device works may,

          after examining this forensic evidence in its proper context, be able to draw

          conclusions about how electronic devices were used, the purpose of their use, who

          used them, and when.


     q. The process of identifying the exact electronically stored information on a storage

          medium that are necessary to draw an accurate conclusion is a dynamic process.

          Electronic evidence is not always data that can be merely reviewed by a review

          team and passed along to investigators. Whether data stored on a computer is

          evidence may depend on other information stored on the computer and the

          application of knowledge about how a computer behaves. Therefore, contextual

          information necessary to understand other evidence also falls within the scope of

          the warrant.


     r.   Further, in finding evidence of how a device was used, the purpose of its use, who

          used it, and when, sometimes it is necessary to establish that a particular thing is

          not present on a storage medium.


     s.    I know that when an individual uses an electronic device to utilize fraudulently


          obtained P11 or create access devices, the individual's electronic device will

          generally serve both as an instrumentality for committing the crime, and also as a

          storage medium for evidence of the crime. The electronic device is an

          instrumentality of the crime because it is used as a means of committing the

          criminal offense. The electronic device is also likely to be a storage medium for

          evidence of crime. From my training and experience, I believe that an electronic
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               device used to commit a crime of this type may contain: data that is evidence of

               how the electronic device was used; data that was sent or received; and other

               records that indicate the nature of the offense.


         31.   Nature ofexamination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of any electronic

devices seized consistent with the warrant. The examination may require authorities to employ

techniques, including but not limited to computer-assisted scans of the entire medium, that might

expose many parts of the device to human inspection in order to determine whether it is evidence

described by the warrant.


         32.   Manner of execution. Because this warrant seeks permission to search for

evidence of Destructive Devices involved in an ongoing series of explosions, I submit there is

reasonable cause for the Court to authorize execution of the warrant at any time in the day or

night.


                                               CONCLUSION


         33.   1   submit that this affidavit supports probable cause for a search warrant

authorizing the search of the Premises described in Attachment A and the contents of any

electronic devices recovered therein, as described in Attachment B.


                                        REOUEST FOR SEALING


         34.   It is respectfully requested that this Court issue an order sealing, until further

order of the Court, all papers submitted in support of this application, including the application

and search warrant. I believe that sealing this document is necessary because the warrant is
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relevant to an ongoing investigation into the suspects as not all of the targets of this investigation

will be searched at this time: Based upon my training and experience, I have learned that, online

criminals actively search for criminal affidavits and search warrants via the internet, and

disseminate them to other online criminals as they deem appropriate, i.e., post them publicly

online through the carding forums. Premature disclosure of the contents of this affidavit and

related documents may have a significant and negative impact on the continuing investigation

and may severely jeopardize its effectiveness.


                                                                  submitted,



                                                                   ALATORRE, JR.

                                                    ATF
       Subscribed and sworn to
       on March 20, 2018:


        HON. MARK LANE
        UNITED STATES       MAç/E JUDGE




                                                   17
